            Case 2:16-cr-00136-JCC         Document 188        Filed 11/01/17     Page 1 of 2




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9          UNITED STATES OF AMERICA,                         CASE NO. CR16-0136-JCC
10                                Plaintiff,
                                                              MINUTE ORDER
11                 v.

12          LUIS ALBERTO RAMIREZ-
            ARREDONDO,
13
                                  Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on the Government’s unopposed 1 motion to seal

18 (Dkt. No. 183) its sentencing memorandum (Dkt. No. 184). Given the sensitive information

19 contained in the filing, the Court finds good cause to seal. The motion to seal (Dkt. No. 183) is

20 GRANTED. Docket Number 184 shall REMAIN sealed.

21          //

22          //

23          //

24

25          1
            Defendant’s deadline to respond to the motion was October 31, 2017. See W.D. Wash.
26 Local Crim. R. 12(b)(2). He did not do so. The Court construes this an admission that the motion
   has merit. See W.D. Wash. Local Crim. R. 12(b)(4).


     MINUTE ORDER, CR16-0136-JCC
     PAGE - 1
           Case 2:16-cr-00136-JCC     Document 188   Filed 11/01/17    Page 2 of 2




 1         DATED this 1st day of November 2017.

 2                                                William M. McCool
                                                  Clerk of Court
 3
                                                  s/ Tomas Hernandez
 4
                                                  Deputy Clerk
 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26



     MINUTE ORDER, CR16-0136-JCC
     PAGE - 2
